Case 2:02-Cr-20165-BBD Document 621 Filed 08/30/05 Page 1 of 4 Page|D 871

IN THE UNITEI) sTATEs DIsTRICT coUR'r nm "*---K;’i_._._oe
FOR THE wESTERN DISTRJCT oF TENNESSEE

 

WESTERN DlvlsloN 05 ms 30 PH b= 23
UNITED sTATEs oF AMERICA, )
Plaimiff, ) ”%§W[NF'SFWGSTMD
) amai'JOF` mw
vs. ) Crirninal No. 02-201
MICHAEL ELLIOT coLE, ) 05-20290
Defendant. )

 

AGREED ORDER DISMISSING INDICTMENT NUMBER 02-20165

 

Pursuant to the plea agreement of the parties, the oral motion of the United States, and for
good cause shown, the motion to dismiss the indictment against this defendant is GRANTED.

lt is hereby ORDERED that this case is dismissed as to the defendant Michael Elliot Cole.

ENTER this 39 )L(/ day of August, 2005.

   

ERNIC BOUIE DONALD
United States District CouIt

   

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Case 2:02-Cr-20165-BBD Document 621 Filed 08/30/05 Page 2 of 4 Page|D 872

AP R VED FOR ENTRY:

    

DAN L. NEWSOM
Senior Litigation Co nsel
U.S. Attomey’s Office, Western District of Tennessee

By_ /”M`G/

WRISTOPHER E. COTTON
Assistant United States Attorney
U S. Attorney’ s Office, Western District of Tennessee

By: w /(D Md/ia_a»\
WILLIAM D. MASSEY O"
Attorney for Michael Elliot Cole

 

Attorney for Michael Elliot Cole

 

 

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This notice confirms a copy of the document docketed as number 621 in
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Michael B. Neal

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/lemphis7 TN 3 8103--246

Kemper B. Durand

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/lemphis7 TN 38103--552

Glenn Reid

WYATT TARRANT & COl\/[BS
P.O. BOX 775000

1\/lemphis7 TN 38177--500

Michael R. Koblenz

MOUND COTTON WOLLAN & GREENGRASS
One Battery Park Plaza

NeW York7 NY 10004--148

David W. Kenna

MOUND COTTON WOLLAN & GREENGRASS
One Battery Park Plaza

NeW York7 NY 10004--148

Richard M. Carter

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/lemphis7 TN 38119

Robert W. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901

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Stephen Ross Johnson

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901--112

Wade V. Davies

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901

David E. Wilson

MCKAY CHADWELL, PLLC
600 University

Ste 1 60 1

Seattle, WA 98101

Robert G. Chadwell

MCKAY CHADWELL PLLC
600 University St.

Ste. 1 60 1

Seattle, WA 98101

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

